  Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 1 of 20 Page ID #:1309

                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                         NOTICE OF DOCUMENT DISCREPANCIES

To: C~ U.S. District Judge / ❑ U.S. Magistrate Judge Philip S. Gutierrez„~
From: R. Smith                                                ,Deputy Clerk             Date Received: 04/24/2018
Case No.: 2:17-cv-07727-PSG-JEM                       Case Title: Barry Rosen v. United States Government et al
Document Entitled: APPLICATION FOR ENTRY OF DEFAULT AGINST: CITY OF SANTA MONICA..
DECLARATION OF BARRY ROSEN IN SUPPORT OF APPLICATION
Upon the submission of the attached document(s), it was noted that the following discrepancies exist:

                  ❑ Local Rule 5-4.1        Documents must be filed electronically
                  ❑ Local Rule 6-1          Written notice of motion lacking or timeliness of notice inc r~c~ ~ ~     ~~~~~      ._
                  ❑ Local Rule 7-19.1       Notice to other parties of ex parte application lacking
                                                                                                                              ~,~~
                  ❑ Local Rule 7.1-1        No Certification of Interested Parties and/or no copies              R'P      ~ ~ ~.
                  ❑ Local Rule 11-3.1       Document not legible
                  ❑ Local Role 11-3.8       Lacking name, address, phone, facsimile numbers, and e-m            ~~~~~`~
                  ❑ Local Rule 11-4.1       No copy provided for judge
                  ❑ Local Rule 11-6         Memorandum/brief exceeds 25 pages
                  ❑ Local Rule 11-8         Memorandum/brief exceeding 10 pages shall contain table of contents
              ❑ Local Rule 15-1             Proposed amended pleading not under separate cover
              ❑ Local Rule 16-7             Pretrial conference order not signed by all counsel
              ❑ Local Rule 19-1             Complaint/Petition includes more than 10 Does or fictitiously named parties
              ❑ Local Rule 56-1             Statement of uncontroverted facts and/or proposed judgment lacking
              ❑ Local Rule 56-2             Statement of genuine disputes of material fact lacking
              ❑ Local Rule 83-2.5           No letters to the judge
              ❑ Fed. R. Civ. P. 5 No proof of service attached to documents)
              ~ Other: No PROOF OF SERVICE provided.


  Please refer to the Court's website at www.cacd.uscourts.gov fnr Local Rules, General Orders,and applicable forms.


                                        ORDER OF THE JUDGE/MAGISTRATE JUDGE
IT IS HEREBY ORDERED:

❑ The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
  "received but not filed" with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
  lead to penalties pursuant to Local Rule 83-7.


    Date                                                      U.S. District Judge / U.S. Magistrate Judge

    The document is NOT to be filed, but instead REJECTED, and is ORDERED returned to counsel.* Counsel* shall
    immediately notify, in writing, all parties previously served with the ace do ents that said documents have not
    been filed ith e Court.
                   ~
                   ' ~
    Date                                                      U.S. Di rict     ge / U.S. Magistrate Judge

* The term "counsel" as used herein also includes any pro se party. See Local Rule 1-3.
       COPY 1 -ORIGINAL-OFFICE           COPY 2 -JUDGE     COPY 3 -SIGNED &RETURNED TO FILER          COPY 4 -FILER RECEIPT

  -104A (06/131                              NOTICE OF DOCUMENT DISCREPANCIES
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 2 of 20 Page ID #:1310


                                                                                       -- ~ ~ a
 ~ BARRY ROSEN                                                j                  o , _,,.'~.~~~D
 2 136 S. Clark Dr. #5                                        ~          r------ ----
   Los Angeles, CA 90048
 3 Tel:(323)653-2043                                          ~          ~ .~   ~r'~ 2 ~ ~~~g
 4                                                            ~            I._.____. ____
     In Pro Per                                                       Cc:.=_-R'rC, tJ.S. DISTRICT CO
 5                                                                ~ z~fv"i hZAL DISTRI T OF CALIF
                                                                  '
                                                                  ~
                                                                  Y?Y                              D
 6
                          UNITED STATES DISTRICT COURT

 s                       CENTRAL DISTRICT OF CALIFORNIA

 9                BARRY ROSEN,                 Case No. 17-CV-07727-PSG-JEMx
1o   Individually and as a Private Attorney
il   General
                  Petitioner and Plaintiff,    APPLICATION FOR ENTRY OF
12                                             DEFAULT AGAINST:
13                      vs.                    RESPONDANT/DEFENDANTS
                                               CITY OF SANTA MONICA AND
14
     UNITED STATES GOVERNMENT,                 UNITED STATES GOVERNMENT,
~s   FEDERAL AVIATION                          FEDERAL AVIATION
     ADMINISTRATION, AND CITY OF               ADMINISTRATION
16
     SANTA MONICA,
1~               Respondents and
18   Defendants.                               (Declaration of Petitioner/Plaintiff Ba

19                                             Rosen)
Zo
al
     To the Clerk of the United States District Court for the Central District of
22

23   California:
24
     As provided by Rule 55 of the Federal Rules of Civil Procedure,
zs
26   Petitioner/Plaintiff Baay Rosen hereby requests that the Clerk enter

2~

28    APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                             FFEDERAL AVIATION ADMINSTRATION
                                             1
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 3 of 20 Page ID #:1311



 1    the default of the following Defendants)for failure to plead or otherwise defend
 r~
       against this action in a timely manner pursuant to the Courts March 21, 2018 order
 3

 4    (Document 55)due to failure to serve documents prior to filing pursuant to Local
 5
      Rule 5-3.2.1 and Federal Rules of Civil Procedure 5, et al
 6

 r~            Name of Respondent/Defendant: CITY OF SANTA MONICA

 8     1)As evidenced by the Courts March 21, 2018 order(Document 55),
 9
       named Respondent/Defendant was required to "Respond" to Petitioner/Plaintiff's
to
]l     Third Amended Petition/Com~laint on or before April 23, 2018.
12
      2)Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and 5(a)(1)(D), a
13

14
      "Response" requires that responsive pleadings or a written motion be served

15     pursuant to Federal Rules of Civil Procedure 5(b).
16
      3)Prior to filing electronically, pursuant to Local Rule 5-3.2.1, Individuals who
i~
ig     not registered for the CM/ECF System must be served in accordance with
i9
      F.R.Civ.P. 5, and proof of service on such individuals must be made by declarati
Zo
2i     in the form required by L.R. 5-3.1.2.

22    4)Petitioner/Plaintif~ s is Pro Per and is not registered for the CM/ECF System
23
       must be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C).
24

25    5)As evidenced by named Respondent/Defendant's Proof of Service(Document
26
      63), Petitioner/Plaintiff was not served at all prior to a motion being filed on April
2~
zs      APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                               FFEDERAL AVIATION ADMINSTRATION
                                               2
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 4 of 20 Page ID #:1312



 1    23, 2018 pursuant to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, named
 2
     Respondent/Defendant's filing was wholly deficient/defective for failure to serve.
 3

 4   6)Because named Respondent/Defendant's motion filing was deficient/defective
 5
      due to lack ofany service whatsoever, the applicable time limit for the above-
 6
      named Respondent/Defendant to otherwise respond to the Third Amended

 s   Petition/Com~laint in this action pursuant to the Courts March 21, 2018 order
 9
      expired on Apri123, 2018.
io
ii   7)Because named Respondent/Defendant's motion filing was deficient/defective
~2
     for lack of service pursuant to F.R.Civ.P. 5, the above-named
13

14
     Respondent/Defendant have failed to timely plead or otherwise respond to the

15   Third Amended Petition/Comnlaint and are therefore in default.
16
     8)RespondentlDefendant's failure to serve documents on Petitioner/Plaintiff
i~
~s    pursuant to F.R.Civ.P. 5 prior to filing also constitutes a violation of L.R 7-12
19
     (Failure to File Required Documents).
20
2t
          Name of Respondent/Defendant: UNITED STATES GOVERNMENT,

22                     FEDERAL AVIATION ADMINISTRATION
23
     9)As evidenced by the Courts March 21, 2018 order(Document 55),
24

Zs   named Respondent/Defendant was required to "Respond" to PetitionerlPlaintiff's
26
     Third Amended Petition/Complaint on or before April 23, 2018.
2~
as     APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                              FFEDERAL AVIATION ADMINSTRATION
                                              3
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 5 of 20 Page ID #:1313



 1   10)Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and 5(a)(1)(D), a
 a
     "Response" requires that responsive pleadings or a written motion be served
 3

4    pursuant to Federal Rules of Civil Procedure 5(b).
 5
     11)Prior to filing electronically, pursuant to Local Rule 5-3.2.1, Individuals who
6
     are not registered for the CM/ECF System must be served in accordance with

 s   F.R.Civ.P. 5, and proof of service on such individuals must be made by declarati
9
     in the form required by L.R. 5-3.1.2.
to
li   12)Petitioner/Plaintiff is Pro Per and is not registered for the CM/ECF System and
12
     must be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C).
13

14
     13)As evidenced by named Respondent/Defendant's Proof of Service(Document

15   59-4), Plaintiff was not served at all prior to a motion being filed on April 23,
16
     2018 pursuant to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, named

ig   Respondent/Defendant's filing was deficient/defective.
i9
     14)Because named Respondent/Defendant's motion filing was deficient/defective
Zo
21
     due to lack ofany service whatsoever, the applicable time limit for the above-

22   named Respondent/Defendant to otherwise respond to the Third Amended
23
     Petition/Com~laint in this action pursuant to the Courts March 21, 2018 order
24

25   expired on April 23, 2018.
26

27

28     APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                              FFEDERAL AVIATION ADMINSTRATION
                                              4
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 6 of 20 Page ID #:1314



 1    15)Because named Respondent/Defendant's motion filing was deficient/defective
 2
     for lack of service pursuant to F.R.Civ.P. 5, the above-named
 3

 4   Respondent/Defendant have failed to timely plead or otherwise respond to the
 5
     Third Amended Petition/Complaint and are therefore in default.
 6
      16)Respondent/Defendant's failure to serve documents on Petitioner/Plaintiff

 g ! pursuant to F.R.Civ.P. 5 prior to filing also constitutes a violation ofL.R 7-12
 9
     (Failure to File Required Documents).
to
ll    17)Respondent/Defendant's motion filing was deficient/defective for failure to
12
     lodge a proposed order pursuant to L.R. 7-20 which also constitutes a violation of
13

14
     L.R 7-12 (Failure to File Required Documents).

IS    18)The above-named Respondent/Defendant's are not a minor or an incompetent
16
     person.
17

ig    19)The above-named Respondent/Defendant's are not currently in the military
19
     service, and therefore the Service Members Civil Relief Act does not apply
ao
21
     20)This request is based on the attached Declaration of Plaintiff.

22   Dated: Apri124, 2018
23
     Respectfully submitted,                                     ~,  .
                                                                  -.--~
24                                                               -
25
                                                  Petitioner/Plaintiff In Pro Per,
26
                                                            Barry Rosen
2~
Zs     APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                              FFEDERAL AVIATION ADMINSTRATION
                                              5
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 7 of 20 Page ID #:1315



 i                                                                           RECEIVED
     BARRY ROSEN                                                               BUT
 2   136 S. Clark Dr. #5                                                     NOT FILED
     Los Angeles, CA 90048
 3
     Tel:(323)653-2043
 4
     In Pro Per                                                      CLERK, U.S. DISTRICT CO RT
 5                                                                ~E1vTRAL DISTRIC    F CAU RNIA
                                                                  '
                                                                  ~Y                       D PUN
 6
                           UNITED STATES DISTRICT COURT

 s                       CENTRAL DISTRICT OF CALIFORNIA
 9
                  BARRY ROSEN,                   Case No. 17-CV-07727-PSG-JEMx
io   Individually and as a Private Attorney
ii   General
                  Petitioner and Plaintiff,      DECLARATION OF BARRY
IZ                                               ROSEN IN SUPPORT OF
13                      vs.                      APPLICATION FOR ENTRY OF
                                                 DEFAULT AGAINST:
14
     UNITED STATES GOVERNMENT,                   RESPONDANT/DEFENDANTS
15   FEDERAL AVIATION                            CITY OF SANTA MONICA AND
     ADMINISTRATION, AND CITY OF                 UNITED STATES GOVERNMENT,
16
     SANTA MONICA,                               FEDERAL AVIATION
i~               Respondents and                 ADMINISTRATION
~s   Defendants.

19

20

21
     I Barry Rosen declare as follows:
22

23   1.    I am the Plaintiff in this action. If called as a witness, I could and would
24
     competently testify thereto.
zs
26           Name of Responde~t/Defendant: CITY OF SANTA MONICA

27
     1)As evidenced by the Courts March 21, 2018 order(Document 55),
Zs    DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
             SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                             1
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 8 of 20 Page ID #:1316




     named Respondent/Defendant was required to "Respond" to Petitioner/Plaintiff's
 2
     Third Amended Petition/Com~laint on or before Apri123, 2018. Attached hereto
 3

 4   Exhibit 1 is a true and correct copy of the Courts March 21, 2018 order(Document
 5
     55).
 6
     2)I am aware that Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and

 s   5(a)(1)(D), a "Response" requires that responsive pleadings or a written motion be
 9
     served pursuant to Federal Rules of Civil Procedure 5(b).
io
ii   3)I am aware that prior to filing electronically, pursuant to Local Rule 5-3.2.1,
12
     Individuals who are not registered for the CM/ECF System must be served in
13

14
     accordance with F.R.Civ.P. 5, and proof of service on such individuals must be

15   made by declaration in the form required by L.R. 5-3.1.2.
16
     4)I am Pro Per in this Action and am not registered for the CM/ECF System. As
i~
is   such I must be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C).
19
     5)As evidenced by named RespondentlDefendant's Proof of Service(Document
zo
zi   63), I was not served at all prior to a motion being filed on Apri123, 2018

22   to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, named Respondent/Defendant's filing
23
     was wholly deficient/defective for failure to serve me with their motion
24

25   6)Because named Respondent/Defendant's motion filing was deficient/defective
26
     due to lack ofany service whatsoever, the applicable time limit for the above-
2~

28    DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
             SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                            2
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 9 of 20 Page ID #:1317




     named Respondent/Defendant to otherwise respond to the Third Amended
2
     Petition/Com~laint in this action pursuant to the Courts March 21, 2018 order
 3

4    expired on Apri123, 2018. Attached hereto as E~ibit 2 is a true and correct copy
5
     of Respondent/Defendant's Proof of Service(Document 63).
6
     7)Because named Respondent/Defendant's motion filing was deficient/defective

 g   for lack of service pursuant to F.R.Civ.P. 5, the above-named
9
     Respondent/Defendant have failed to timely plead or otherwise respond to the
io
it   Third Amended Petition/Complaint and are therefore in default.
12
     8)I am aware that Respondent/Defendant's failure to serve documents on
13

]4
     PetitionerlPlaintiff pursuant to F.R.Civ.P. 5 prior to filing also constitutes a

15   violation of L.R 7-12 (Failure to File Required Documents).
i6
         Name of RespondentlDefendant: UNITED STATES GOVERNMENT,
i~
is                     FEDERAL AVIATION ADMINISTRATI
i9
     9)As evidenced by the Courts March 21, 2018 order(Document 55),
Zo
21
     named Respondent/Defendant was required to "Respond" to Petitioner/Plaintiff's

22   Third Amended Petition/Com~laint on or before Apri123, 2018.
23
     10)Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and 5(a)(1)(D), a
24

Zs "Response" requires that responsive pleadings or a written motion be served
26

27

28    DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
             SANTA MOMCA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                            3
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 10 of 20 Page ID #:1318



 1   pursuant to Federal Rules of Civil Procedure 5(b). Attached hereto as E~ibit 1 is
 2
     true and correct copy of the Courts March 21, 2018 order(Document 55).
 3

 4    11)I am aware that Prior to filing electronically, pursuant to Local Rule 5-3.2.1,
 5
     Individuals who are not registered for the CM/ECF System must be served in
 6
     accordance with F.R.Civ.P. 5, and proof of service on such individuals must be

 s   made by declaration in the form required by L.R. 5-3.1.2.
 9
      12)I am Pro Per in this Action and am not registered for the CM/ECF System and
io
ii   must be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C).
IZ
      13)As evidenced by named Respondent/Defendant's Proof of Service(Document
13

14
     59-4), I was not served at all prior to a motion being filed on Apri123, 2018

15   pursuant to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, named
16
     Respondent/Defendant's filing was deficient/defective. Attached hereto as Exhibit
i~
is   3 is a true and correct copy of Respondent/Defendant's Proof of Service
19
     (Document 59-4).
zo
2i   14)Because named Respondent/Defendant's motion filing was deficient/defective

22   due to lack ofany service whatsoever, the applicable time limit for the above-
23
     named Respondent/Defendant to otherwise respond to the Third Amended
24

25   Petition/Com~laint in this action pursuant to the Courts March 21, 2018 order
26
     expired on April 23, 2018.
2~

28    DECLARATION OF BARRY ROSEN 1S0 APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
             SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                            4
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 11 of 20 Page ID #:1319



 1   15)Because named Respondent/Defendant's motion filing was deficient/defective
 z
     ~ for lack of service pursuant to F.R.Civ.P. 5, the above-named
 3

 4   Respondent/Defendant have failed to timely plead or otherwise respond to the
 5
     Third Amended Petition/Com~laint and are therefore in default.
 6
     16)Respondent/Defendant's failure to serve documents on Petitioner/Plaintiff

 s i~ pursuant to F.R.Civ.P. 5 prior to filing also constitutes a violation of L.R 7-12
 9
     I,(Failure to File Required Documents).
io
~i   17)Respondent/Defendant's motion filing was deficient/defective for failure to
12
     lodge a proposed order pursuant to L.R. 7-20 which also constitutes a violation of
13

14
     L.R 7-12(Failure to File Required Documents).

15   18)The above-named Respondent/Defendant's are not a minor or an incompetent
16
     person.
i~
is   19)The above-named Respondent/Defendant's are not currently in the military
19
     service, and therefore the Service Members Civil Relief Act does not apply.
Zo
2~
     I declare under penalty of perjury under the laws of the State of California that the

22   foregoing is true and correct.
23
     Dated: April 24, 2018
24

25                                                        ~.~-

                                                  "~      Barry Rosen
26

27

28    DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
             SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                            5
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 12 of 20 Page ID #:1320




                              Exhibit 1
Case 2:17-cv-07727-PSG-JEM
  Case  2:17-cv-07727-PSG'EMDocument 66 55
                              Document   Filed  04/25/18
                                             Filed        Page
                                                   03/21/18    13 1
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                                                                             3/21/2018
     2
                                                                      ut:       Cw              ntr~ ii
     3
     4
     5
     6
     7
     8                                UNITED STATES DISTRICT COURT
     9                               CENTRAL DISTRICT OF CALIFORNIA
    10
    11
            BARRY ROSEN, Individually and as a      Case No.    2:17-cv-07727 PSG (JEMx)
    12      Private Attorney General,
                                                               ORDER TO AMEND
    13             Petitioner and Plaintiff,         LAINTIFF' SECOND AMENDED
                                                    PETITION
    14              v.
    15      UNITED STATES GOVERNMENT,
            FEDERAL AVIATION                        Judge: Honorable Philip S. Gutierrez
    16      ADMINISTRATION, AND CITY OF
            SANTA MONICA,
    17
                   Respondents and Defendants.
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28 ~I
                                                                            Order to Amend Plaintiff s
            Case No. 2:17-cv-07737 PSG (JEMx)
                                                                             Second Amended. Petition I
Case 2:17-cv-07727-PSG-JEM
  Case  2:17-cv-07727-PSG-'EMDocument 66 55
                               Document   Filed 04/25/18
                                             Filed 03/21/18Page 14 2
                                                             page  ofof
                                                                      202 Page
                                                                          Page ID
                                                                                ID #:1322
                                                                                   #:505


      1          Having reviewed the Stipulation to Amend Plaintiff's Second Amended
     2    Petition (the "Stipulation"), and good cause appearing,
     3
     4           IT IS HEREBY ORDERED THAT:
     5            1.     Plaintiff's Third Amended Petition   a proposed copy of which is filed
     6    as an attachment to the Stipulation—is deemed filed and served as of the date the
     7    parties filed the Stipulation; and
     8           2.      Defendants shall respond to Plaintiff's Third Amended Petition, by
     9    motion or otherwise, on or before April 23, 2018.
    10
    11                                                r
    12    Dated: March 21, 2018
                                                 e Hon.P i ip        utierrez
    13                                         Unites States District Judge
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
          Case No. 2:17-cv-07727 PSG (JEMx)       1                             Order to Amend Plaintiffs
                                                                                 Second Amended Petition
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 15 of 20 Page ID #:1323




                              Exhibit 2
Case 2:17-cv-07727-PSG-JEM
  Case  ;:17-cv-07727-PSG-~~MDocument 6663Filed
                               Document         04/25/18
                                             Filed 04/23/18Page  161ofof20
                                                             image                 #:1324
                                                                         3 Page ID #:1303


      1    LANE DILG(SBN 277220)
           City Attorney
     2     Lane.Dilg@smgov.net
           IVAN O. CAMPBELL(SBN 216049)
      3    Deputy City Attorney
           Ivan.Campbell@smgov.net
     4     1685 Main Street, Third Floor
           Santa Monica, California 90401-3295
     5     Tel: 310.458.8336; Fax: 310.393.6727
     6     DAVID M. WALSH(SBN 120761)
           DWalsh mofo.com
     7     MORRI ON & FOERSTER LLP
           707 Wilshire Boulevard, Suite 6000
     8     Los Angeles, California 90017-3543
           Tel: 213.892.5200; Fax: 213.892.5454
     9
     10    Attorne~ys for Defendant
           CITY OF SANTA MONICA
     11
                                  UNITED STATES DISTRICT COURT
     12
                                CENTRAL DISTRICT OF CALIFORNIA
    13
    14
    15     BARRY ROSEN,Individually and as a         Case No.    2:17-cv-07727 PSG(JEMx)
           Private Attorney General,
    16
                                                     CERTIFICATE OF SERVICE
                  Petitioner and Plaintiff,
    17
                                                     [NOTICE OF MOTION AND MOTION TO
    18
                                                     DISMISS PLAINTIFF'S THIRD AMENDED
           UNITED STATES GOVERNMENT,
    19     FEDERAL AVIATION                          PETITION; REQUEST FOR ~TUDICIAL
           ADMINISTRATION, AND CITY OF               NOTICE,[PROPOSED] ORDER,AND
    2~     SANTA MONICA,                             DECLARATION OF IVAN O.CAMPBELL]
    21            Respondents and Defendants.
                                                     Date: July 9, 2018
    22
                                                     Time: 1:30 p.m.
    23                                               Hon. Philip S. Gutierrez
                                                     Courtroom: 6A
    24
    25                                               Third Amended Petition Filed: March
                                                     19, 2018
    26
    27
    28
           Case No. 2:17-cv-07727 PSG(JEMx)                                CERTIFICATE OF SER
Case 2:17-cv-07727-PSG-JEM
  Case x,:17-cv-07727-PSG-'~MDocument 6663Filed
                               Document         04/25/18
                                             Filed 04/23/18Page 172ofof20
                                                            ''age         Page ID
                                                                        3 Page ID #:1304
                                                                                  #:1325



      1                                CERTIFICATE OF SERVICE
     2           I hereby certify that on the April 23, 2018,I electronically filed the following
     3    documents:
     4           1.      City of Santa Monica's Notice of Motion and Motion to Dismiss
     5                   Verified Third Amended Petition;
     6           2.      City of Santa Monica's Request for Judicial Notice in Support of
     7                   Motion to Dismiss Verified Third Amended Petition;
     8           3.     [Proposed] Order Granting Defendant City of Santa Monica's Motion
     9                  to Dismiss Verified Third Amended Petition; and
    10           4.      Declaration ofIvan O. Campbell in Support of Defendant City of
    11                   Santa Monica's Request for Judicial Notice
    12           I served the documents with the Clerk of Court using the CM/ECF system,
    13    which then sends a notification of such filing(NEF)to the following:
    14           Gary Daniel Feldon           gary.d.feldon@usdoj.gov
    15           Brian Lee Hazen              bhazen@mofo.com
    16                                        sdpdrive@mofo.com
    17                                        ykametani@mofo.com
    18           William V O'Connor, Jr woconnor@cooley.com
    19                                        mdejesus@cooley.com
    20           David M Walsh                dwalsh@mofo.com
    21                                        kbartolomeo@mofo.com
    22                                        docket-la@mofo.com
    23                                        dave-Walsh-7427@ecf.pacerpro.com
    24                                        Susan-etheredge-7866@ecf.pacerpro.com
    25                                        setheredge@mofo.com
    26
    27
    28
           Case No. 2:17-cv-07727 PSG(JEMx)         1                          CERTIFICATE OF SERVIC
Case 2:17-cv-07727-PSG-JEM
  Case  {:17-cv-07727-PSG-'~MDocument 6663Filed
                               Document         04/25/18
                                             Filed 04/23/18Page 183ofof20
                                                             "age         Page ID
                                                                        3 Page ID #:1305
                                                                                  #:1326



      1         And I hereby certify that I will serve the above documents by messenger
     2    service to the following non-filing user:
     3                         Barry Rosen
     4                          136 South Clark Drive, No. 5
     5                         Los Angeles, CA 90048
     6
     7    Dated: April 23,2018                    CITY OF SANTA MONICA,
                                                  a municipal corporation
     8
     9
                                                  By:    /s/ Ivan O. Campbell
    10                                                  IVAN O. CAMPBELL
    11                                                  Deputy City Attorney

    12                                            Attorneys for Defendant
                                                  City of Santa Monica
    13
    14
    15
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    28
          Case No. 2:17-cv-07727 PSG(JEMx)        2                             CERTIFICATE OF
Case 2:17-cv-07727-PSG-JEM Document 66 Filed 04/25/18 Page 19 of 20 Page ID #:1327




                              Exhibit 3
Case
 Case2:17-cv-07727-PSG-JEM
       2: _7-cv-07727-PSG-'~'MDocument
                               Document6659-4
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                                                               Page     of 1 Page
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       1                           UNITED STATES DISTRICT COURT
      2                           CENTRAL DISTRICT OF CALIFORNIA
      3     BARRY ROSEN,Individually and as a            Case No.     2:17-cv-07727 PSG(JEMx)
            Private Attorney General,
      4                                                  CERTIFICATE OF SERVICE FOR
                   Petitioner and Plaintiff,             FEDERAL DEFENDANTS' MOTION
      5                                                  TO DISMISS PLAINTIFF'S
                                                        (VERIFIED)THIRD AMENDED
      6                                                 PETITION FOR WRIT OF MANDATE
            UNITED STATES GOVERNMENT,                    AND COMPLAINT FOR
      7     FEDERAL AVIATION                             DECLARATORY AND INJUNCTIVE
            ADMINISTRATION,AND CITY OF                   RELIEF FOR VIOLATIONS OF
      8     SANTA MONICA,                                ADMINISTRATIVE PROCEDURE
                                                         ACT(APA), NATIONAL
      9            Respondents and Defendants.           ENVIRONMENTAL POLICY ACT
                                                        (NEPA),CALIFORNIA
     10                                                 ENVIRONMENTAL UALITY ACT
                                                        (CEQA),CALIFORNI STATE
     11                                                  AERONAUTICS ACT,ET AL.
     12                                                  Judge: Honorable Philip S.Gutierrez
     13
     14            I, Gary D.Feldon, certify that I served the foregoing Federal Defendants'
     15    Motion to Dismiss Plaintiff's (Verified) Third Amended Petition for Writ of
     16    Mandate and Complaint for Declaratory and Injunctive Relief for Violations of
     17    Administrative Procedure Act(APA), National Environmental Policy Act(NEPA),
     18    California Environmental Quality Act(CEQA),California State Aeronautics Act,
     19    Et Al. on opposing counsel by filing it via the Court's CM/ECF system, which sent
     20    notification of such filing to the counsel of record in this matter who are registered
     21    on the CM/ECF system.
     22
     23
     24            Executed on Apri123,2018,in Washington, D.C.
     25
     26                                             /s/ Gary D.Feldon
                                                   GARY D.FELDON
     27
     28
            Case No.2:17-cv-07727 PSG(JEMx)                          Federal Defendants' Motion to Dismiss
